Case 1:18-cv-01832-JRS-MPB Document 23 Filed 10/29/18 Page 1 of 15 PageID #: 107




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 CHRISTOPHER KAPS,

                    Plaintiff,

        v.                                            Case No. 1:18-cv-01832-JRS-MPB

 TJ BRAY, AMY MARTINEZ, TIM LEATH,                    JURY TRIAL DEMAND
 MIKE STEVENS and CARRIER
 CORPORATION,

                    Defendants.


           DEFENDANTS TJ BRAY, AMY MARTINEZ, TIMOTHY LEATH,
         MICHAEL STEVENS AND CARRIER CORPORATION’S RESPONSE IN
          OPPOSITION TO PLAINTIFF’S MOTION TO AMEND COMPLAINT

        Defendants TJ Bray, Amy Martinez, Timothy Leath, Michael Stevens and Carrier

 Corporation (collectively “Defendants”), by their attorneys and pursuant to Federal Rule of Civil

 Procedure 15 and Local Rules 7-1 and 15-1, hereby oppose Plaintiff’s Motion to Amend

 Complaint (“Motion to Amend”) because Plaintiff Christopher Kaps’ proposed Second Amended

 Complaint, which purports to add a claim of discrimination against Carrier Corporation, is

 untimely and futile. Specifically, Plaintiff failed to timely pursue his gender discrimination

 claim under Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e et seq.

 (“Title VII”), following his receipt of a Notice of Right to Sue from the Equal Employment

 Opportunity Commission (“EEOC”). Apparently recognizing this failure and that his Title VII

 claim would be time-barred, Plaintiff then attempted to circumvent Title VII’s statutory

 requirement by filing a second charge of discrimination with the EEOC based on the exact same

 alleged adverse action (his termination) in an attempt to receive a new Notice of Right to Sue.

 Plaintiff’s blatant attempt to circumvent these time bars should be rejected. Because Plaintiff’s
Case 1:18-cv-01832-JRS-MPB Document 23 Filed 10/29/18 Page 2 of 15 PageID #: 108




 gender discrimination claim was not timely pursued following issuance of the first Notice of

 Right to Sue, it is time-barred and, thus, would not survive a motion to dismiss because it fails to

 assert a claim upon which relief may be granted. Accordingly, addition of such a claim via the

 proposed Second Amended Complaint is futile. Further, Plaintiff has acted with undue delay,

 without justification, and in bad faith with his attempt to amend. Therefore, Defendants

 respectfully request that the Court deny Plaintiff’s Motion to Amend. In further support,

 Defendants state the following:

          RELEVANT FACTUAL BACKGROUND AND PROCEDURAL HISTORY

          Plaintiff was previously employed as a Plant Supervisor at Carrier Corporation. (Dkt.

 No. 1, ¶ 2.) On March 14, 2017, Carrier Corporation terminated Plaintiff’s employment

 following an investigation of complaints raised by a female subordinate employee of Plaintiff.

 (Dkt. No. 1, ¶¶ 20-26.) On April 21, 2017, and shortly after his termination, Plaintiff filed a

 Charge of Discrimination (“April 2017 Charge”) against Carrier Corporation with the EEOC.

 (Exhibit A, EEOC Charge of Discrimination, Charge No.: 470-2017-01769.)1 In the April 2017

 Charge, Plaintiff claimed that he “believes that he has been subjected to an adverse employment

 action (Discharge) by [Carrier Corporation] because of his gender in violation of Title VII of the

 Civil Rights Act of 1964, as amended.” (Ex. A.) On August 21, 2017, the EEOC issued a

 Dismissal and Notice of Rights (“Notice of Rights”) relating to the April 2017 Charge. (Exhibit

 B, Dismissal and Notice of Rights, Charge No.: 470-2017-01769.) In the Notice of Rights,

 which was addressed to Plaintiff at the address he provided in the April 2017 Charge, Plaintiff

 was advised that, should he elect to pursue a Title VII claim vis-a-vis a lawsuit against Carrier

 Corporation, “Your lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or


 1
  This Court has authority to take judicial notice of proceedings from administrative agencies. See Opoka v. I.N.S.,
 94 F.3d 392, 394 (7th Cir. 1996).


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Case 1:18-cv-01832-JRS-MPB Document 23 Filed 10/29/18 Page 3 of 15 PageID #: 109




 your right to sue based on this charge will be lost.” (Ex. B (emphasis in original).) Assuming

 Plaintiff received the Notice of Rights five days later, on August 26, 20172, he would have had to

 file his lawsuit alleging Title VII gender discrimination relating to his termination no later than

 November 24, 2017, which he did not do.

          Instead, on June 15, 2018, nearly seven months after his deadline to file a Title VII claim

 had passed, Plaintiff filed the present lawsuit against Carrier Corporation, as well as other

 individual current and former employees of Carrier Corporation, alleging ONLY claims of

 slander per se and invasion of privacy/false light. (Dkt. No. 1.) In his Complaint, Plaintiff

 alleges that his employment was terminated on March 14, 2017. (Dkt. No. 26.)3

          Then, on August 7, 2018, which was 511 days after his employment was terminated,

 Plaintiff filed a second charge of discrimination with the EEOC (“August 2018 Charge”), again

 challenging his termination. (Exhibit C, EEOC Charge of Discrimination, Charge No.: 470-

 2018-03799.) In this Second Charge of Discrimination, Plaintiff, again, alleges that he “believes

 that he has been subjected to an adverse employment action (Discharge) by [Carrier Corporation]

 because of his gender in violation of Title VII of the Civil Rights Act of 1964, as amended …”,

 which is identical to the claim within his April 2017 Charge. This time, however, Plaintiff

 alleges that he was now subjected to a “continuing action” of discrimination by Carrier

 Corporation because he believes he has discovered alleged comparator evidence of another

 female employee purportedly engaged in similar misconduct in April 2018 (more than a year

 after Plaintiff’s employment was terminated), but who was not similarly terminated. (Ex. C.)

 The August 2018 Charge continues to only allege gender discrimination and the only alleged


 2
   Unless proven otherwise, the notice of rights letter is presumed to be received five days from the mailing date.
 Loyd v. Sullivan, 882 F.2d 218 (7th Cir. 1989).
 3
   For reasons not relevant to the pending motion, Plaintiff was ordered to, and did, file a First Amended Complaint,
 which is the current operative pleading. (Dkt. No. 10.)


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Case 1:18-cv-01832-JRS-MPB Document 23 Filed 10/29/18 Page 4 of 15 PageID #: 110




 adverse employment action against Plaintiff remains his March 2017 termination. The EEOC

 did not request a response from Carrier to the August 2018 Charge. Instead, on September 11,

 2018, the EEOC issued a Dismissal and Notice of Rights relating to the August 2018 Charge.

 (Exhibit D, Dismissal and Notice of Rights, Charge No.: 470-2018-03799.)

         Following receipt of the second Notice of Rights relating to the August 2018 Charge,

 Plaintiff only now filed the present Motion to Amend. (Dkt. No. 22.) Plaintiff requests leave to

 add a Title VII gender discrimination claim against Carrier Corporation, as well as adding parties

 Does One through Five as Defendants. (Id.) In his proposed complaint, Plaintiff claims that the

 March 14, 2017 termination of his employment was an adverse employment action because of

 his gender in violation of Title VII. (Dkt. No. 22-1, at 5.) Plaintiff alleges that the procedural

 prerequisites have been met and references his second charge of discrimination and related

 Notice of Rights letter. (Id., at 3.) Notably, Plaintiff makes no mention of his first charge of

 discrimination or the related Notice of Rights letter, which was issued well over a year ago in

 August 2017. (Id.) Plaintiff offers no explanation as to why he failed to pursue his gender

 discrimination relating to the termination of his employment following the issuance of the Notice

 of Rights letter relating to his first charge of discrimination. (Id.)

                                             STANDARD

         At this stage of the litigation, a plaintiff may only amend his pleading with leave of court.

 FED. R. CIV. P. 15(A)(2). While generally, leave to amend a complaint should be freely given,

 there is no absolute right to amend. The Supreme Court has held that a finding of undue delay,

 bad faith, or dilatory motive, repeated failures to cure deficiencies, undue prejudice to the non-

 moving party or futility of the amendment may be grounds to deny a motion to amend. Foman v.

 Davis, 371 U.S. 178, 182 (1962). The Seventh Circuit of Appeals continues to uphold Foman

 and held that there is no obligation to allow amendment if to do so would clearly be futile or if


                                                    4
Case 1:18-cv-01832-JRS-MPB Document 23 Filed 10/29/18 Page 5 of 15 PageID #: 111




 there has been undue delay. Airborne Beepers & Video, Inc. v. AT & T Mobility LLC, 499 F.3d

 663, 667 (7th Cir. 2007) (affirming denial of leave to amend because of undue delay and

 resulting prejudice); Arce v. Chicago Transit Auth., 738 F. App’x 355, 358 (7th Cir. 2018)

 (affirming denial of leave to amend where amendment would be futile); Hagan v. Quinn, 867

 F.3d 816, 829 (7th Cir. 2017) (affirming denial of leave to amend when amendment would be

 futile). For the reasons articulated below, the Court should deny Plaintiff’s request to amend his

 Complaint to add a Title VII gender discrimination claim because such amendment would be

 futile as any such claim would be barred.

                                             ARGUMENT


 I.     ADDITION OF PLAINTIFF’S TITLE VII CLAIM OF DISCRIMINATION IS
        FUTILE BECAUSE IT IS CLEARY TIME-BARRED.

        A.      PLAINTIFF FAILED TO PURSUE A GENDER DISCRIMINATION
                CLAIM WITHIN 90 DAYS OF RECEIVING HIS NOTICE OF RIGHTS.

        A district court may deny a motion to amend on the grounds of futility when the proposed

 claim would not survive a motion to dismiss. Gonzalez-Koeneke v. West, 791 F.3d 801, 807 (7th

 Cir. 2015) (internal citations omitted); Gandhi v. Sitara Capital Mgmt., LLC, 721 F.3d 865, 869

 (7th Cir. 2013) (same). Federal Rule of Civil Procedure 12(b)(6) provides that a cause of action

 should be dismissed if it fails to state a claim upon which relief may be granted. Motions to dismiss

 are appropriate when a plaintiff has failed to timely file his complaint.

        Here, Plaintiff’s Amended Complaint proposes a cause of action for Title VII gender

 discrimination. (Dkt. 22-1, at 6.) Title VII has strict rules regarding administrative exhaustion

 prior to bringing a claim and how soon following agency action a claim must be brought, which

 cannot be circumvented. A civil action alleging a violation of Title VII must be filed within

 ninety days after receipt of a plaintiff’s notice of right to sue. 42 U.S.C. § 2000e-5(f)(1); see St.



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Case 1:18-cv-01832-JRS-MPB Document 23 Filed 10/29/18 Page 6 of 15 PageID #: 112




 Louis v. Alverno College, 744 F.2d 1314, 1316 (7th Cir. 1984). Title VII’s mandatory ninety-

 day filing requirement is strictly enforced in this Circuit. Fleming v. Alcoa Building Products,

 820 F. Supp. 1113, 1116-17 (N.D. Ind. 1992) (citing e.g., Jones v. Madison Serv. Corp., 744

 F.2d 1309, 1314 (7th Cir. 1984)). The failure to timely file will result in the dismissal of the

 plaintiff's claim. See Luckett v. Rent-A-Center, Inc., 53 F.3d 871, 872-73 (7th Cir. 1995).

 Further, the Supreme Court has cautioned that Title VII’s procedural prerequisites should not “be

 disregarded by courts out of a vague sympathy for particular litigants.” Baldwin County

 Welcome Ctr. v. Brown, 466 U.S. 147, 152 (1984).

        Plaintiff clearly did not timely pursue his Title VII claims of gender discrimination.

 Thus, the futility of Plaintiff’s amended complaint is readily apparent. The EEOC sent Plaintiff

 his Notice of Rights on August 21, 2017. The Notice of Rights clearly states that “[y]our lawsuit

 must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on

 this charge will be lost.” (Ex. B (emphasis in original).) The law presumes that Plaintiff

 received the notice of right to sue within five days of its mailing. Lody v. Sullivan, 882 F.2d 218

 (7th Cir. 1989) (applying the presumption that the right to sue letter was received five days after

 it was issued). However, Plaintiff waited until June 15, 2018, 421 days after his Notice of Rights

 was issued, to pursue a claim of Title VII discrimination. Consequently, Plaintiff’s proposed

 discrimination claim is time-barred and would be subject to dismissal with prejudice. See

 Alverno, 744 F.2d at 1316-17 (7th Cir. 1984) (affirming dismissal of plaintiff’s lawsuit for

 failure to file complaint within ninety days after receiving notice of right to sue); Harding v. Fort

 Wayne Foundry/Pontiac Div., Inc., 919 F. Supp. 1223, 1228 (N.D. Ind. 1996) (dismissing

 plaintiff’s lawsuit because he filed after expiration of the ninety-day period to file his complaint);




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Case 1:18-cv-01832-JRS-MPB Document 23 Filed 10/29/18 Page 7 of 15 PageID #: 113




 Boyd v. Jacobs Project Mgmt. Co., No. 116CV02028SEBTAB, 2017 WL 4340325, at *4 (S.D.

 Ind. Sept. 29, 2017), aff'd, No. 18-1028, 2018 WL 5095432 (7th Cir. Oct. 18, 2018) (same).

        The Seventh Circuit has affirmed denials of motions to amend on the grounds of futility

 when the amendment would not cure the jurisdictional deficiencies of the complaint. In Arce,

 plaintiff requested leave to pursue a hostile work environment claim, which the trial court denied

 because the claim was time-barred. Arce v. Chicago Transit Authority, 738 F. App’x 355, 358

 (7th Cir. 2018). The Seventh Circuit affirmed the trial decision, agreeing that the proposed

 amendment was futile because the claim was time-barred. Id. The Seventh Circuit explained

 that because there were no incidents of harassment within the three-hundred day period

 preceding his charge of discrimination, the proposed claim was outside the requisite statutory

 period, and, as such, the proposed amendment was futile. Id. at 358; see also Rizzo v. City of

 Wheaton, Ill., 462 F. App'x 609, 613 (7th Cir. 2011) (denying motion to amend based on futility

 where claims are barred by the statute of limitations); NDK Corp. v. Local 1550 of United Food

 & Commercial Workers Int'l Union, 709 F.2d 491 (7th Cir. 1983), overruled on other grounds by

 Int'l Bhd. of Elec. Workers, Local 481 v. Sign-Craft, Inc., 864 F.2d 499 (7th Cir. 1988) (plaintiff

 is not entitled to amend its complaint only to have amended complaint dismissed for lack of

 jurisdiction). Hereto, Plaintiff’s Motion to Amend should be denied on the grounds of futility as

 his Title VII discrimination claim is clearly time-barred as he did not pursue such a claim within

 ninety days after receiving his Notice of Right to Sue.




                                                  7
Case 1:18-cv-01832-JRS-MPB Document 23 Filed 10/29/18 Page 8 of 15 PageID #: 114




        B.      PLAINTIFF CANNOT MAKE HIS TITLE VII CLAIM TIMELY BY
                FILING A SECOND CHARGE OF DISCRIMINATION 511 DAYS AFTER
                HIS TERMINATION AND SIMPLY BY CHECKING THE
                “CONTINUING ACTION” BOX.

        Plaintiff will likely argue that it was proper to file a second charge because he later

 learned of alleged comparator evidence and, thus, checked the “continuing action” box, which

 was not checked on the first charge. This is improper for multiple reasons.

        First, the August 2018 charge was filed far beyond 300 days after Plaintiff’s termination

 and, thus, was untimely. The United States Supreme Court strictly adheres to this procedural

 requirement to guarantee “the protection of civil rights laws to those who promptly assert their

 rights” and to “protect[] employers from the burden of defending claims arising from

 employment decisions that are long past.” Delaware State Coll. v. Ricks, 449 U.S. 250, 256-57

 (1980) (internal citations omitted); see Mohasco Corp. v. Silver, 447 U.S. 807, 826 (1980)

 (“strict adherence to the procedural requirements specified by the legislature is the best guarantee

 of evenhanded administration of the law”). The only employment decision identified in the

 August 2018 Charge that involved Plaintiff was his termination, which occurred more than one

 year before he filed the second charge. Thus, the second charge was untimely on its face.

        Next, Plaintiff cannot make his August 2018 Charge timely by simply checking the

 “continuing action” box or adding allegations regarding an alleged comparator as the doctrine of

 continuing action does not aid Plaintiff here. The doctrine, which is typically involved in

 workplace sexual harassment cases, is a limited one, allowing a plaintiff to delay charges “until a

 serious of acts by a prospective defendant blossom into a wrongful injury on which a suit can be

 based.” Arthur L. Lewis, Jr., et al., v. City of Chicago, 528 F.3d 488, 490 (7th Cir. 2008). In

 contrast, Plaintiff’s allegations do not support a “continuing action” violation as Carrier did not -

 - and could not -- continue to “wrongfully injure” Plaintiff following his termination as he was



                                                   8
Case 1:18-cv-01832-JRS-MPB Document 23 Filed 10/29/18 Page 9 of 15 PageID #: 115




 no longer employed by Carrier. Indeed, by Plaintiff’s own admission, his claim is based on the

 single act of the termination of his employment: “[Plaintiff] believes that he has been subjected

 to an adverse employment action (Discharge) by [Carrier Corporation] because of his gender in

 violation of Title VII of the Civil Rights Act of 1964, as amended…” (Exs. A, C.) Termination

 of employment is a quintessential discrete employment decision and it does not support a

 continuing violation theory. Nat'l R.R. Passenger Corp. v. Morgan, 536 U.S. 101, 114, 122

 (2002) (recognizing termination as a discrete act); see also Spears v. Delphi Auto. Sys. Corp.,

 No. IP 00-1653-D-T/K, 2002 WL 1880756, at *15 (S.D. Ind. Aug. 15, 2002) (same). Simply

 stating there was a “continuing action” does not make it so. Because Plaintiff’s termination was

 a discrete act, and the 300-day period ran from the date of his termination, Plaintiff’s claim is

 untimely and cannot be saved by the continuing action doctrine.

        Finally, Plaintiff’s reference to an alleged female comparator also does not establish a

 “continuing action” violation or support filing a new charge, even if the decision regarding her

 employment was made after his termination. Comparator evidence is evidence to support a

 claim of discrimination against the plaintiff; it does not constitute a “new” violation against the

 plaintiff to permit filing of a new charge. Otherwise, plaintiffs would file new charges every

 time they learned something new regarding an alleged comparator during discovery, resulting in

 a procedural nightmare for agencies, courts, and parties. This is clearly not what Title VII

 envisions or permits.

        Courts within this jurisdiction, as well as sister courts, have dismissed complaints based

 similar facts. See e.g. Ervin v. Purdue University Calumet, 2:09-CV-136-PRC, 2010 WL

 3021521, *3-4 (N.D. Ind, July 38, 2010); see also Vitello v. Liturgy Training Publ'ns, 932

 F.Supp. 1093, 1099 (N.D. Ill. 1996) (dismissing complaint as untimely); Soso Liang Lo v. Pan




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Case 1:18-cv-01832-JRS-MPB Document 23 Filed 10/29/18 Page 10 of 15 PageID #: 116




  Am. World Airways, Inc., 787 F.2d 827, 828 (2d Cir. 1986) (same); Buckman v. Metro. Edison

  Co., No. CIV.A. 04-CV-00489, 2004 WL 2203731, at *3 (E.D. Pa. Sept. 29, 2004) (same). For

  example, in Giovanni v. Megabus USA, LLC, the court noted that plaintiff’s complaint would

  only be timely if calculated from when plaintiff had received her right to sue from the second

  EEOC Charge. No. 14 C 3195, 2015 WL 6449133, at *3 (N.D. Ill. Oct. 23, 2015). However,

  because the plaintiff had filed multiple EEOC charges, the court held that plaintiff was required

  to demonstrate that her second EEOC charge is not a mere re-allegation of her first EEOC

  charge, i.e., not reasonably related or similar enough to be within the scope of the first charge.”

  Id. citing Blalock v. Bethesda Lutheran Homes & Servs., No. 01 C 9188, 2002 WL 31833693, at

  *3 (N.D. Ill. Dec. 16, 2002); . The Court reasoned this requirement was necessary “because, [t]o

  allow a plaintiff to re-allege an earlier EEOC charge in a subsequent EEOC charge would render

  the 90–day time limit for filing lawsuits 'meaningless,' because it would allow the plaintiff to

  'evade the filing requirement simply by seeking additional Notices of Right to Sue whenever he

  pleased.” Id. at *3 (internal quotations and citations omitted); see also Secrease v. Western &

  Southern Life Ins. Co., No. 114CV00955JMSTAB, 2014 WL 12768454, at *5 (S.D. Ind. Dec. 3,

  2014) (plaintiff failed to demonstrate that his second charge was not a mere re-allegation of his

  first charge, thus, his complaint was dismissed as untimely because “a plaintiff cannot revive a

  lapses claims and restart the process simply by including the lapsed claim in a second EEOC

  charge”) (citations omitted).

         Here, Plaintiff’s second EEOC charge clearly is not a separate and distinct event -- both

  relate to the termination of his employment. “Courts look at the discriminatory acts alleged, not

  the theory of discrimination, to determine whether a plaintiff is bringing a second, similar

  charge.” Giovanni at *3 (identifying several cases with similar findings). Here, looking at




                                                   10
Case 1:18-cv-01832-JRS-MPB Document 23 Filed 10/29/18 Page 11 of 15 PageID #: 117




  Plaintiff’s two charges, the discriminatory event that Plaintiff complains of, the termination of

  his employment, is clearly the same act. Any different theories of discrimination or additional

  comparator evidence that Plaintiff now claims to have to support his claim is irrelevant. Because

  Plaintiff did not file within the 90 days from when his first Notice of Rights was issued, this

  Court cannot adjudicate his claim. Ervin at *4 citing Blalock v. Bethesda Lutheran Homes and

  Services, Inc., No. 01 C 9188, 2002 WL 31833693, at *3 (N.D. Ill. Dec.16, 2002) (once the 90–

  day period expires, a court is precluded from adjudicating any allegations that were contained in

  a previous charge). For these same reasons, Plaintiff’s claim is time-barred and will not survive

  a motion to dismiss.

  II.    PLAINTIFF UNDULY DELAYED IN PURSING HIS CLAIM OF
         DISCRIMINATION. THUS, THIS COURT SHOULD DENY HIS MOTION FOR
         LEAVE TO AMEND.

         Plaintiff has unduly delayed in bringing his Title VII gender discrimination and he offers

  no justification for his significant delay in doing so. Plaintiff possessed relevant information that

  would have enabled him to bring a lawsuit for Title VII gender discrimination within the 90 days

  (or by November of 2017) of receiving his first Notice of Rights letter, but he did not. Instead,

  Plaintiff waited until June of 2018 to file a lawsuit and, even then, he still did not raise a claim

  for gender discrimination claim. This undue delay coupled with Plaintiff’s failure to act with

  diligence is additional grounds to deny his proposed amended complaint. Johnson v. Cypress

  Hill, 641 F.3d 867, 872 (7th Cir. 2011) (citing Foman v. Davis, 371 U.S. at 182) (denying

  motion to amend noting there was no reason for plaintiff to have waited over a year to seek

  permission to add additional claims that could have been raised earlier); U.S. Labor Party v.

  Oremus, 619 F.2d 683, 692 (7th Cir. 1980) (affirming the denial of a motion to amend because

  there was “no explanation for the delay in not raising the new issue prior to” the court's




                                                    11
Case 1:18-cv-01832-JRS-MPB Document 23 Filed 10/29/18 Page 12 of 15 PageID #: 118




  disposition of the case). For this additional reason, this Court should deny Plaintiff’s Motion to

  Amend.

           Further, some courts have found the failure to justify a delay as evidence of a dilatory

  motive or bad faith, which serves as a further basis to deny a motion to amend. See e.g. Williams

  v. Savage, 569 F. Supp. 2d 99, 107–08 (D.D.C. 2008) (citing Oremus at 692 and Foman, 371

  U.S. at 182) (finding dilatory motive or bad faith to warrant denying motion to amend where

  plaintiff possessed facts to pursue racial discrimination claim, but did not with no justification

  for the delay). Plaintiff believed he was a victim of gender discrimination at least as early as

  April 2017 when he filed his first charge of discrimination. And, once the EEOC issued the first

  Notice of Rights, Plaintiff had an opportunity to pursue a gender discrimination lawsuit back in

  2017, but chose not do so. Instead, Plaintiff now tries to circumvent his failure to do so by filing

  a second charge of discrimination, based on the exact same termination event (and even the same

  theory, i.e. gender discrimination ), by calling it a “continuing action.” Plaintiff should not be

  permitted to flout the statutes and rules that provide for a timely and orderly disposition of cases

  and pursue a claim that is grossly time-barred. This is precisely the scenario the Supreme Court

  in Foman envisioned that would warrant denying a party leave to amend. The Court should

  therefore deny Plaintiff’s Motion to Amend.4

                                                   CONCLUSION

           Plaintiff’s proposed amended complaint is futile as it will not survive a motion to

  dismiss. Additionally, the proposed amended complaint was filed with undue delay and the

  untimeliness of it, without any justification, evidences bad faith and dilatory motive. For these




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    Defendants do not object to Plaintiff’s request to add John and Jane Does to his claims of slander per se and false
  light/invasion of privacy.


                                                            12
Case 1:18-cv-01832-JRS-MPB Document 23 Filed 10/29/18 Page 13 of 15 PageID #: 119




  reasons, Defendants respectfully request that Plaintiff’s Motion to Amend should be denied and

  this Court award Defendants any further relief it deems necessary and just.




  DATED: October 29, 2018                           Respectfully submitted,

                                                    CARRIER CORPORATION, TJ BRAY,
                                                    TIMOTHY LEATH, AMY MARTINEZ AND
                                                    MICHAEL STEVENS

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                                                    ATTORNEYS FOR DEFENDANTS
                                                    CARRIER CORPORATION, TJ BRAY,
                                                    TIMOTHY LEATH, AMY MARTINEZ AND
                                                    MICHAEL STEVENS




                                                 13
Case 1:18-cv-01832-JRS-MPB Document 23 Filed 10/29/18 Page 14 of 15 PageID #: 120




                                    EXHIBIT LIST

        Exhibit A   EEOC Charge of Discrimination, Charge No.: 470-2017-01769.

        Exhibit B   Dismissal and Notice of Rights, Charge No.: 470-2017-01769.

        Exhibit C   EEOC Charge of Discrimination, Charge No.: 470-2018-03799.

        Exhibit D   Dismissal and Notice of Rights, Charge No.: 470-2018-03799.
Case 1:18-cv-01832-JRS-MPB Document 23 Filed 10/29/18 Page 15 of 15 PageID #: 121




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA

  CHRISTOPHER KAPS,

                     Plaintiff,

         v.                                            Case No. 1:18-cv-01832-JRS-MPB

  TJ BRAY, AMY MARTINEZ, TIM LEATH,
  MIKE STEVENS and CARRIER
  CORPORATION,

                     Defendants.


                                   CERTIFICATE OF SERVICE

         I hereby certify that on October 29, 2018, I electronically filed the foregoing

  DEFENDANTS CARRIER CORPORATION, TJ BRAY, AMY MARTINEZ, TIMOTHY

  LEATH AND MICHAEL STEVENS’ RESPONSE IN OPPOSITION TO PLAINTIFF’S

  MOTION TO AMEND with the Clerk of Court using the CM/ECF system, which will

  automatically send electronic notification of such filing to the following attorney of record:


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                                                               s/ Misty R. Martin
                                                               Counsel for Defendants




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